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                      UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT ILLINOIS, WESTERN DIVISION


ATAIN SPECIALTY INSURANCE COMPANY,
                       Plaintiff,
v.
                                                              No. 1:19-cv-5120
THE SANDWICH FAIR ASSOCIATION, INC., an
Illinois corporation, EDWARD OLDAKER, and
BRIAN FALTZ,
                       Defendants.

                     COMPLAINT FOR DECLARATORY JUDGMENT

       The Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY (“Atain”), files this

Complaint for Declaratory Judgment against the Defendants, THE SANDWICH FAIR

ASSOCIATION, INC. (“Sandwich Fair”), EDWARD OLDAKER (“Oldaker”), and BRIAN

FALTZ (“Faltz”), and in support, states:

                                    GENERAL ALLEGATIONS

                                      NATURE OF ACTION
       1.      This is an action for declaratory relief under the Declaratory Judgment Act (28

U.S.C. § 2201 et seq.) and Rule 57 of the Federal Rules of Civil Procedure, to establish the

absence of coverage and, consequently, no duty to defend or indemnify, Sandwich

Fair, under a commercial general liability insurance policy for an underlying lawsuit against

Sandwich Fair and others for alleged bodily injuries sustained by Oldaker, an employee or

volunteer assistant at a mud run event at the Sandwich Fair’s property on September 22, 2018.

                                    JURISDICTION AND VENUE
       2.      The jurisdiction of this Court is based upon 28 U.S.C. §1332 as there is complete

diversity of citizenship between the parties and the amount in controversy exceeds the sum of

$75,000, exclusive of attorney’s fees, interest, and costs.
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        3.      Venue is proper pursuant to 28 U.S.C. §1391(a)(2) in that a substantial part of the

events or omissions giving rise to the claims asserted in the Complaint for Declaratory Judgment

took place in this District, or DeKalb County, Illinois.

                                          THE PARTIES
        4.      Plaintiff Atain is, and at all times relevant hereto was, a corporation organized

under the laws of the State of Michigan with its principal place of business in Michigan. Atain is

a surplus lines insurance company under 215 ILCS 5/445, et seq. and issued a commercial

general liability policy to Faltz.

        5.      Defendant Sandwich Fair is, and at all times relevant hereto was, a corporation

organized under the laws of the State of Illinois with its principal place of business in DeKalb

County, Illinois.

        6.      Defendant Oldaker is, and at all times relevant hereto was, an individual citizen of

the State of Illinois.

        7.      Defendant Faltz is, and at all times relevant hereto was, an individual citizen of

the State of Illinois. Faltz is named as a defendant only because he is the Named Insured on the

Atain Policy and may have an interest in this action.

                                     THE UNDERLYING ACTION
        8.      On April 23, 2019, Oldaker filed a lawsuit against Sandwich Fair, among others,

in the Circuit Court of DeKalb County, Illinois, as Case No. 2019L 000022, seeking damages for

bodily injuries he allegedly sustained while working as a volunteer assistant at an off-road

vehicle mud race, referred to as the “Dirty Grape Off Road Competition Mud Drags” (hereinafter

“the Oldaker Lawsuit” or “the Oldaker Complaint”). (A copy of the Oldaker Complaint is

attached hereto and made a part hereof as Exhibit “A”).




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       9.       It is alleged in the Oldaker Lawsuit that on September 22, 2018, Sandwich Fair

sponsored an event called the “2nd ANNUAL DIRTY GRAPE MUD RUN” (hereinafter “Mud

Run event”) on Sandwich Fair’s premises located at 1401 Suydam Road, Sandwich, Illinois. (Ex.

A, Count I, ¶2; Count II, ¶2).

       10.      It is also alleged in the Oldaker Lawsuit that on September 22, 2018, that Oldaker

was in the exercise of ordinary care for his own safety as a business invitee, spectator, and

volunteer assistant while at the Mud Run event when he was struck by a 1997 Black Chevy S-10

truck operated by registered participant Brittany Mae Thom (“Thom”), and owned by Jon Terry

Blakenhorn (“Blakenhorn”) resulting in bodily injuries. (Ex. A, Count I, ¶¶3-7, 10-11; Exhibit II,

¶¶3-5, 9-11).

       11.      It is further alleged in the Oldaker Lawsuit that Oldaker’s injuries were caused by

certain careless and negligent acts by Sandwich Fair. (Ex. A, Count I, ¶9; Count II, ¶8).

       12.      According to the police investigation of the subject incident, a copy of which is

attached hereto and made a part hereof as Exhibit “B,” Oldaker was standing in the event area at

the time he was struck by the vehicle. Specifically, Oldaker was noted to be standing beyond the

end of the protection of the cement barricade, and on the west side of the east side barricade,

when he was struck by the vehicle. (Ex. B, pp. 5-6).

       13.      Further, Thom and Blankenhorn identified the vehicle as an assembled and

modified 1997 Chevrolet S-10 “mud truck,” with a “Big Block” Chevy race motor (565 CI),

designed for off-road use only. The vehicle had 33 inch front tires and 38.5 inch rear tires with

paddles. (Ex. B, pp. 4, 6).




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                       THE SANDWICH FAIR/FALTZ CONTRACT

       14.    On or about September 22, 2018, Sandwich Fair and Faltz purportedly entered

into a contract whereby Faltz rented the Sandwich Fair property for the Mud Run event

(hereinafter “the Sandwich Fair/Faltz Contract”). (A copy of the unsigned and undated Sandwich

Fair/Faltz Contract is attached hereto and made a part hereof as Exhibit “C”).

       15.    The Sandwich Fair/Faltz Contract contains the following provision regarding

insurance:

              Group or renters must provide a certificate of liability insurance naming
              The Sandwich Fair Association, Inc. as additional insured for one million
              dollars. The certificate must be on file with The Sandwich Fair
              Association at least one (1) week prior to the event.
              (Ex. C, Facility Use Guidelines).

                                THE ATAIN POLICY

       16.    Atain issued its Policy No. CIP368057 to Faltz for the policy period of September

22, 2018 to September 23, 2018, with limits of liability of $1 million each occurrence and $2

million in the general aggregate (hereinafter “the Atain Policy”). (A copy of the Atain Policy is

attached hereto and made a part hereof as Exhibit “D”).

       17.    The Form of business on the Atain Policy is “Individual,”, the Business

Description is “Race Track,” the Location of “all premises you own, rent or occupy” is “1401

Suydam Rd, Sandwich, IL 60548,” and the insured Classification is “Race Tracks-Motorized

Vehicles (Lessor’s Risk Only) Including Products/Completed Operations.”

       18.    The Atain Policy provides Commercial General Liability Coverage pursuant to

Form No. CG 00 01 04 13, which contains the following relevant provisions:

       SECTION I – COVERAGES

       COVERAGE         A    BODILY      INJURY      AND      PROPERTY           DAMAGE
       LIABILITY



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 1.    Insuring Agreement

       a.    We will pay those sums that the insured becomes legally obligated
             to pay as damages because of “bodily injury” or “property damage”
             to which this insurance applies. We will have the right and duty to
             defend the insured against any “suit” seeking those damages.
             However, we will have no duty to defend the insured against any
             “suit” seeking damages for “bodily injury” or “property damage” to
             which this insurance does not apply.…

       b.    This insurance applies to “bodily injury” and “property damage”
             only if:

             (1)    The “bodily injury” or “property damage” is caused by an
                    “occurrence” that takes place in the “coverage territory”;

             (2)    The “bodily injury” or “property damage” occurs during the
                    policy period ….

 2.    Exclusions

       This insurance does not apply to: ….

       h.     Mobile Equipment

              “Bodily injury” or “property damage” arising out of:

              (1)   The transportation of “mobile equipment” by an “auto”
                    owned or operated by or rented or loaned to any insured; or

               (2) The use of “mobile equipment” in, or while in practice for, or
                   while being prepared for, any prearranged racing, speed,
                   demolition, or stunting activity….

 SECTION V – DEFINITIONS

 ….

 10.   “Leased worker” means a person leased to you by a labor leasing firm
       under an agreement between you and the labor leasing firm, to perform
       duties related to the conducted of your business. “Leased worker” does not
       include a “temporary worker”….

 12.   “Mobile equipment” means any of the following types of land vehicles,
       including any attached machinery or equipment:



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       a.     Bulldozers, farm machinery, forklifts and other vehicles designed
              for use principally off public roads;

       b.     Vehicles maintained for use solely on or next to premises you own
              or rent;

       c.     Vehicles that travel on crawler treads;

       d.     Vehicles, whether self-propelled or not, maintained primarily to
              provide mobility to permanently mounted:

              (1)    Power cranes, shovels, loaders, diggers or drills; or

              (2)    Road construction or resurfacing equipment such as
                     graders, scrapers or rollers;

       e.     Vehicles not described in Paragraph a., b., c. or d. above that are
              not self-propelled and are maintained primarily to provide mobility
              to permanently attached equipment of the following types:

              (1)    Power cranes, shovels, loaders, diggers or drills; or

              (2)    Road construction or resurfacing equipment such as
                     graders, scrapers or rollers;

       f.     Vehicles not described in Paragraph a., b., c., or d. above
              maintained primarily for purposes other than the transportation of
              persons or cargo.

       However, self-propelled vehicles with the following types of permanently
       attached equipment are not “mobile equipment” but will be considered
       “autos”:

       (1)    Equipment designed primarily for:

              (a)    Snow removal;

              (b)    Road maintenance, but not construction or resurfacing; or

              (c)    Street cleaning;

       (2)    Cherry pickers and similar devices mounted on automobile or
              truck chassis and used to raise or lower workers; and




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              (3)     Air compressors, pumps and generators including spraying,
                      welding, building cleaning, geophysical exploration, lighting and
                      well servicing equipment.

              However, “mobile equipment” does not include any land vehicles that are
              subject to a compulsory or financial responsibility law or other motor
              vehicle insurance law where it is licensed or principally garaged. Land
              vehicles subject to a compulsory or financial responsibility law or other
              motor vehicle insurance law are considered “autos”….

       19.    “Temporary worker” means a person who is furnished to you to substitute
              for a permanent “employee” on leave or to meet seasonal or short-term
              workload conditions.

       20.    “Volunteer worker” means a person who is not your “employee”, and who
              donates his or her work and acts at the direction of and within the scope of
              duties determined by you and is not paid a fee, salary or other
              compensation by you or anyone else for their work performed for you….

       19.    The Atain Policy also includes Form No. CG 20 11 04 13, titled “Additional

Insured – Managers or Lessors of Premises,” (hereinafter “the Additional Insured

Endorsement”), which provides, in relevant part, as follows:

         ADDITIONAL INSURED – MANAGERS OR LESSORS OF PREMISES

       This endorsement modifies insurance provided under the following:

              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                      SCHEDULE
       Designation Of Premises (Part Leased To You):
       1401 SUYDAM RD
       SANDWICH, IL 60548

       Name Of Person(s) Or Organization(s) (Additional Insured):
       SANDWICH FAIRGROUNDS
       1401 SUYDAM DR
       SANDWICH, IL 60548


       Additional Premium:
       $....
       Information required to complete this Schedule, if not shown above, will be
       shown in the Declarations.


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       A.      Section II – Who Is An Insured is amended to include as an additional
               insured the person(s) or organization(s) shown in the Schedule, but only
               with respect to liability arising out of the ownership, maintenance or use
               of that part of the premises leased to you and shown in the Schedule and
               subject to the following additional exclusions:

               This insurance does not apply to:

               1.     Any “occurrence” which takes place after you cease to be a tenant
                      in that premises.

               2.     Structural alternations, new construction or demolition operations
                      performed by or on behalf of the person(s) or organization(s)
                      shown in the Schedule.

               However:

               1.     The insurance afforded to such additional insured only applies to
                      the extent permitted by law; and

               2.     If coverage provided to the additional insured is required by a
                      contract or agreement, the insurance afforded to such additional
                      insured will not be broader than that which you are required by the
                      contract or agreement to provide for such additional insured….

       20.     The Atain Policy further includes Form No. AF000839 (04/2016), titled

“Employees, Subcontractors, Independent Contractors, Temporary Workers, Leased Workers or

Volunteers” (hereinafter the “Employer’s Liability Exclusion”), which provides, in relevant part:

        EMPLOYEES, SUBCONTRACTORS, INDEPENDENT CONTRACTORS,
         TEMPORARY WORKERS, LEASED WORKERS OR VOLUNTEERS

       This endorsement modifies insurance provided under the following Coverage
       Forms:

               COMMERCIAL GENERAL LIABILITY COVERAGE FORM….

       I.      Exclusion e., Employer’s Liability in Part 2, Exclusions of SECTION I
               – COVERAGES, COVERAGE A. BODILY INJURY AND
               PROPERTY DAMAGE LIABILITY of the COMMERCIAL
               GENERAL LIABILITY COVERAGE FORM is replaced by the
               following:




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       e.     Employer’s Liability

              1.     “Bodily injury” to an “employee”, subcontractor, employee
                     of any subcontractor, “independent contractor”, employee
                     of any “independent contractor”, “temporary worker”,
                     “leased worker”, “volunteer worker” of any insured or any
                     person performing work or services for any insured arising
                     out of and in the course of employment by or service to any
                     insured for which any insured may be held liable as an
                     employer or in any other capacity;

              2.     Any obligation of any insured to indemnify or contribute
                     with another because of damages arising out of “bodily
                     injury” to an “employee”, subcontractor, employee of any
                     subcontractor, “independent contractor”, employee of any
                     “independent contractor”, “temporary worker”, “leased
                     worker”, “volunteer worker” of any insured or any person
                     performing work or services for any insured arising out of
                     and in the course of employment by or service to any
                     insured for which any insured may be held liable as an
                     employer or in any other capacity….

              4.     Contractual liability as defined in Section I – Exclusions,
                     item 2b. of the Commercial General Liability Coverage
                     Form CG 0001.

              For the purposes of this endorsement, “independent contractor”
              means one that contracts to do work or perform a service for
              another and that retains control over the means or methods used in
              doing the work or performing the service. “Independent
              contractor” includes, but is not limited to, subcontractors and any
              employees of a subcontractor, any employee of an independent
              contractor, any “employees” of any insured, agents,
              representatives, volunteers, spouses, family members of any
              insured or any Additional Insureds added to this policy.…

              For purposes of this endorsement, “Employee” is defined as
              follows: “Employee” includes a “leased worker”.

              This exclusion applies to all causes of action arising out of “bodily
              injury” to any “employee”, subcontractor, employee of any
              subcontractor, “independent contractor”, employee of any
              “independent contractor”, “temporary worker”, “leased worker”,
              “volunteer worker” or any person performing work or services for
              any insured because of “bodily injury” including care and loss of
              services.



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                       When there is no coverage for any one insured under this
                       endorsement, coverage is also excluded for any other insured (and
                       SECTION IV.7.b. of Commercial General Liability Coverage
                       Form CG0001 shall not apply)….

       21.     The Atain Policy further includes an endorsement titled, “Exclusion –

Amusement Devices, Fireworks, Animals, Event Participants and Athletic Participants,” Form

No. AF 00 08 32 07/2014 (hereinafter “the Event Participants Exclusion”), which provides, in

relevant part, as follows:

             EXCLUSION – AMUSEMENT DEVICES, FIREWORKS, ANIMALS,
                EVENT PARTICIPANTS AND ATHLETIC PARTICIPANTS

       This endorsement modifies insurance provided under the following:

       COMMERCIAL GENERAL LIABILITY COVERAGE PART….

       The following exclusions are added to Paragraph 2. Exclusions of SECTION I
       COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY
       DAMAGE LIABILITY, COVERAGE B PERSONAL AND ADVERTISING
       INJURY LIABILITY and COVERAGE C – MEDICAL PAYMENTS:

       With respect to any operations, this insurance does not apply to “bodily injury”,
       “property damage”, “personal and advertising injury”, and medical payments to
       “any person” or “any property” arising out of ….

               1.      The practicing for or participation in any athletic or sports event,
                       circus, concert, demonstration, event, exhibition, game motorized
                       activity, parade, race, rode, show, stunting activity, or theatrical or
                       musical performance covered by this policy;

               2.      To “any person”, authorized or unauthorized, while in the activity
                       area such as, but not limited, to, the area known as the pit, track,
                       chute, corral or arena;

               3.      Arising out of the ownership, maintenance, use, “loading or
                       unloading” of any “auto”, watercraft or “mobile equipment” used
                       in prearranged or organized racing, speed or demolition contest,
                       any stunting activity or in practice or preparation for any such
                       contest ….




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       For the purposes of this endorsement, the following Definitions are added to the
       DEFINITIONS section:

       “Any person” includes, but not limited to, animal handlers, announcers,
       attendants, clowns, contestants, drivers, entertainers, judges, mechanics,
       musicians, officials, participants, passengers, pit attendants, referees, singers,
       speakers, stage crews, stewards, stock contractors, vendors or their employees,
       any person employed by or doing volunteer work for you or on your behalf, or
       any person involved in promotion, sponsoring or production….

       22.     The Atain Policy also includes Form No. AF 001 007 06/2017, titled “Combined

Coverage and Exclusion Endorsement,” (hereinafter “Other Insurance Provision”), which

provides, in relevant part:

              COMBINED COVERAGE AND EXCLUSION ENDORSEMENT

                                               ….

       This endorsement modifies insurance provided under the following coverage parts
       if those coverage parts are included in your policy:

               COMMERCIAL GENERAL LIABILITY COVERAGE FORM….

       XII.    AMENDMENT OF OTHER INSURANCE ENDORSEMENT

       It is agreed that Section IV – Commercial General Liability Conditions,
       Paragraph 4. is replaced in its entirety with the following:

       This insurance is excess over any other insurance whether primary, excess,
       contingent or on any other basis that is available to any insured. You are required
       to give notice of claim to all “potential insurers” within thirty days of giving
       notice of claim to us….

       “Potential insurers” means all insurance companies who may be obligated to
       defend any insured as either a named insured or an additional insured.…

                    COUNT I – SANDWICH FAIR IS NOT AN INSURED

       23.     Atain incorporates and restates each and every allegation set forth in paragraphs 1

through 22 of the General Allegations of this Complaint for Declaratory Judgment as if alleged

in this Paragraph 23.




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          24.   Under the Additional Insured Endorsement, the additional insured schedule lists

“Sandwich Fairgrounds” as the only additional insured.

          25.   The unsigned and undated Sandwich Fair/Faltz Contract requires renters to

provide a certificate of liability insurance naming “The Sandwich Fair Association, Inc.” as an

additional insured.

          26.   “The Sandwich Fair Association, Inc.” is the named defendant in the Oldaker

Lawsuit and the entity that tendered its defense to Atain.

          27.   “The Sandwich Fair Association, Inc.” is not scheduled anywhere on the Atain

Policy as an additional insured.

          28.   “The Sandwich Fair Association, Inc.” does not otherwise qualify as an insured

pursuant to the terms of the Atain Policy.

          29.   Accordingly, Sandwich Fair, the named entity in the Oldaker Lawsuit, does not

qualify as an additional insured, nor does it otherwise qualify as an insured, under the Atain

Policy.

          30.   As such, Atain has no obligation to defend or indemnify Sandwich Fair for the

Oldaker Lawsuit.

          WHEREFORE, Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY, respectfully

requests that this Court:

          (a)   Determine and adjudicate the rights and liabilities of the parties hereto with
                respect to the Atain Policy;

          (b)   Find and declare that Sandwich Fair is not an insured under the Atain Policy;

          (c)   Find and declare that Atain has no obligation to defend or indemnify Sandwich
                Fair in connection with the Oldaker Lawsuit;

          (d)   Grant such other and further relief as it deems just and proper.




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                                COUNT II – NO COVERAGE
                            EMPLOYER’S LIABILITY EXCLUSION
       31.     Atain incorporates and restates each and every allegation set forth in paragraphs 1

through 22 of the General Allegations of this Complaint for Declaratory Judgment as if alleged

in this Paragraph 31.

       32.     Under the Atain Policy’s Employer’s Liability Exclusion, there is no coverage for

bodily injury to any employee or voluntary worker of any insured.

       33.     Even if Sandwich Fair qualifies as an insured or additional insured under the

Atain Policy, which Atain denies, Sandwich Fair is not entitled to coverage in connection with

the Oldaker Lawsuit because Oldaker was acting as an employee or voluntary worker of the

named insured, Faltz, at the time Oldaker was struck by the vehicle. Accordingly, coverage is

precluded pursuant to the Employer’s Liability Exclusion.

       34.     As such, Atain has no obligation to defend or indemnify Sandwich Fair for the

Oldaker Lawsuit.

       WHEREFORE, Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY, respectfully

requests that this Court:

       (a)     Determine and adjudicate the rights and liabilities of the parties hereto with
               respect to the Atain Policy;

       (b)     Find and declare that Sandwich Fair is not an insured under the Atain Policy;

       (c)     Find and declare that Atain has no obligation to defend or indemnify Sandwich
               Fair in connection with the Oldaker Lawsuit;

       (d)     Grant such other and further relief as it deems just and proper.




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                               COUNT III – NO COVERAGE
                            EVENT PARTICIPANTS EXCLUSION
        35.    Atain incorporates and restates each and every allegation set forth in paragraphs 1

through 22 of the General Allegations of this Complaint for Declaratory Judgment as if alleged

in this Paragraph 35.

        36.    Under the Atain Policy’s Event Participants Exclusion, there is no coverage for

bodily injury to any person arising out of the participation in any race or stunting activity

covered by the Atain Policy; bodily injury to any person, authorized or unauthorized, while in

the activity area such as the track or arena; or bodily injury arising out of the use of any “mobile

equipment” used in prearranged or organized racing, speed or demolition contest, or stunting

activity.

        37.    Even if Sandwich Fair qualifies as an insured or additional insured under the

Atain Policy, which Atain denies, Sandwich Fair is not entitled to coverage in connection with

the Oldaker Lawsuit because Oldaker’s alleged bodily injuries arise from the participation in a

race or stunting activity, Oldaker was in the event area standing beyond the end of the protection

of the cement barricade at the time he was struck by the vehicle, and/or Oldaker’s alleged bodily

injuries arise out of the use of “mobile equipment” used in a prearranged or organized racing,

speed, or stunting activity. Accordingly, coverage is precluded pursuant to the Event Participants

Exclusion.

        38.    As such, Atain has no obligation to defend or indemnify Sandwich Fair for the

Oldaker Lawsuit.

        WHEREFORE, Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY, respectfully

requests that this Court:

        (a)    Determine and adjudicate the rights and liabilities of the parties hereto with
               respect to the Atain Policy;


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       (b)     Find and declare that Sandwich Fair is not an insured under the Atain Policy;

       (c)     Find and declare that Atain has no obligation to defend or indemnify Sandwich
               Fair in connection with the Oldaker Lawsuit;

       (d)     Grant such other and further relief as it deems just and proper.

                               COUNT IV – NO COVERAGE
                             MOBILE EQUIPMENT EXCLUSION
       39.     Atain incorporates and restates each and every allegation set forth in paragraphs 1

through 22 of the General Allegations of this Complaint for Declaratory Judgment as if alleged

in this Paragraph 39.

       40.     The vehicle that allegedly struck Oldaker causing his injuries qualifies as “mobile

equipment” under the Atain Policy because it is a vehicle that is maintained primarily for

purposes other than the transportation of persons or cargo.

       41.     Specifically, the vehicle was used solely for competing in off-road mud races,

such as the Mud Run event.

       42.     The vehicle that allegedly struck Oldaker causing his injuries at the Mud Run

event was further being used in a pre-arranged racing, speed, or stunting activity. Accordingly,

even if Sandwich Fair qualifies as an insured or additional insured under the Atain Policy, which

Atain denies, Sandwich Fair is not entitled to coverage in connection with the Oldaker Lawsuit

because coverage is precluded pursuant to the Mobile Equipment Exclusion.

       43.     As such, Atain has no obligation to defend or indemnify Sandwich Fair for the

Oldaker Lawsuit.

       WHEREFORE, Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY, respectfully

requests that this Court:

       (a)     Determine and adjudicate the rights and liabilities of the parties hereto with
               respect to the Atain Policy;


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       (b)     Find and declare that Sandwich Fair is not an insured under the Atain Policy;

       (c)     Find and declare that Atain has no obligation to defend or indemnify Sandwich
               Fair in connection with the Oldaker Lawsuit;

       (d)     Grant such other and further relief as it deems just and proper.

                COUNT V – OTHER POLICY TERMS LIMIT COVERAGE
       44.     Atain incorporates and restates each and every allegation set forth in paragraphs 1

through 22 of the General Allegations of this Complaint for Declaratory Judgment as if alleged

in this Paragraph 44.

       45.     To the extent that the Atain Policy is ever deemed to provide coverage to

Sandwich Fair for the Oldaker Lawsuit, which Atain denies, one or more other Atain Policy

provisions apply to limit or exclude coverage for the Oldaker Lawsuit.

       WHEREFORE, Plaintiff, ATAIN SPECIALTY INSURANCE COMPANY, respectfully

requests that this Court:

       (a)     Determine and adjudicate the rights and liabilities of the parties hereto with
               respect to the Atain Policy;

       (b)     Find and declare that Sandwich Fair is not an insured under the Atain Policy;

       (c)     Find and declare that Atain has no obligation to defend or indemnify Sandwich
               Fair in connection with the Oldaker Lawsuit;

       (d)     Grant such other and further relief as it deems just and proper.


Dated: July 29, 2019

                                             Respectfully submitted:

                                             ATAIN   SPECIALTY                    INSURANCE
                                             COMPANY

                                             /s/ David T. Brown
                                             One of its Attorneys


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